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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                    Plaintiff,            )                   8:14CR409
                                          )
             V.                           )
                                          )
SHANE SEIZYS, EMMANUEL                    )     SUPPLEMENTAL FINDINGS AND
CHAPLAIN, DILANG DAT,                     )         RECOMMENDATION
THOMAS JONES-ROSS,                        )
                                          )
                    Defendants.           )
                                          )


        On August 10, 2015, the undersigned entered a Findings and Recommendation (filing
145), recommending that motions to suppress filed by Defendants Emmanuel Chaplain,
Shane Seizys and Thomas Jones-Ross be denied in their entireties. The Findings and
Recommendation inadvertently omitted reference to the specific filing number of one of
Defendant Jones-Ross’s motions to suppress. Therefore, for purposes of clarity, the
undersigned reiterates his recommendation that both of Jones-Ross’s motions to suppress
(filing nos. 74 and 89) be denied in their entireties for the reasons previously stated.

      IT IS SO ORDERED.

      DATED October 7, 2015.

                                         BY THE COURT:

                                         S/ F.A. Gossett
                                         United States Magistrate Judge
